      CASE 0:12-cv-01037-ADM-SER Document 1 Filed 04/25/12 Page 1 of 3


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                           UNITED STATES DISTRICT COURT                        ii- :1-:   -al
                                                                               :!z'       Fi
                                  DISTRICT OF MINNESOTA
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Kirk Gunnerson,                                              Court File No.:
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                     Plaintiff,

V.                                                                              COMPLAINT

Mayo Clinic Rochester, a non-profit
corporation dlbla Mayo Clinic and
Rochester Method ist Hospital,

                     Defendants.


       PLAINTIFF FOR HIS CAUSES OF ACTION AGAINST THE DEFENDANTS

HEREIN ALLEGES AND STATES AS FOLLOWS:

                                               t.


       Jurisdiction of this Court exists pursuant to 28 U.S.C. S 1332 in that the matter in

controversy herein exceeds the sum           of Seventy-Five   Thousand and no/100ths

($75,000.00) Dollars, exclusive     of   interest, costs and disbursements and that the

controversy is between citizens of different states.

                                              il,

       That at all times material hereto, plaintiff Kirk Gunnerson is a citizen of the State

of Nebraska.

                                              ilt.

       That at all times herein defendant Mayo Clinic Rochester was              a Minnesota
corporation licensed under the laws of the State of Minnesota.
     CASE 0:12-cv-01037-ADM-SER Document 1 Filed 04/25/12 Page 2 of 3




                                          rvi
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      That at all times hereto, Defendant Mayo Clinic Rochester Bmployed physicians,
                                                                   I




nurses and other health care providers through entities known ad tne Mayo Clinic and

Rochester Methodist Hospital.

                                          V.

      That on December 13,2007 , plaintiff Kirk Gunnerson had               in the form of a

right total elbow arthroplasty performed by agents and                 of the Mayo Clinic at

Rochester Methodist Hospital.

                                          vt.

      Following said surgery, defendants negligently departed           the degrees of skill

and care ordinarily possessed and exercised by healthcare                under the same or

similar circumstances in that they failed       to   accurately and adequately address

symptoms of pain, tingling and numbness which plaintiff Kirk             nnerson began to

experience in his operated hand, and failed to initiate steps to relieve the cause or
     CASE 0:12-cv-01037-ADM-SER Document 1 Filed 04/25/12 Page 3 of 3




                                           VIII.

      As a direct result of the injuries and damages allege{, plaintiff has been
                                                                         I




damaged in an amount in excess of Seventy-Five Thousand                        ttolt00ths Dollars
                                                                    "ti'O
($75,ooo.oo).
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      WHEREFORE, plaintiff prays for judgment against the deiendants herein for a
                                                                         I




                      in excess of
                                                                         I


reasonable amount                     Seventy-Five Thousand                   No/100ths Dollars
                                                                   "nf   I


($75,000.00), together with costs disbursements and interest as aflowed by any and all

applicable   laws.                                                       I




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DATED:   o4fas         ,2012              MACKENZTE & DORN|K, lP.A.
                                                                         I




                                          By: ttua<
                                              REED K. MAC                    (tD      11)
                                          Attorneys for Plaintiff
                                          150 South Fifth Street.              2500
                                          Minneapolis, MN 55402
                                          (612) 335-3500


                              DEMAND FOR JURY TRIAL                      i




      Plaintiff hereby demands a trial by jury of all the issues of fa



DATED:                   ,2012            MACKENZIE & DORNIK,                .A.


                                              REED K. MACKENZTq{|p 6601 1)
                                          Attorneys for Plaintiff i"
                                          150 South Fifth Street, Srlite 2500
                                          Minneapolis, MN 55402          |



                                          (612) 335-3500
